Case 4:21-cv-01003-MWB

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Attorney for Plaintiffs

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

CHELSEA HARRIS and THOMAS HARRIS,

Plaintiffs

ROADSAFE TRAFFIC, L.P.,
Defendant

NO.

Civil Action — Law

JURY TRIAL DEMANDED

 

 

COMPLAINT

AND COMES NOW, the Plaintiffs Chelsea Harris and Thomas Harris, by

and through their attorneys Handler, Henning & Rosenberg, LLC, by David L. Lutz,

Esq., and sets forth this Complaint against the Defendant and avers as follow:

1. This Court has jurisdiction under the provisions of 28 U.S.C. §1332.
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Z, Venue is proper in the Middle District of Pennsylvania under 28
U.S.C.§1391 as this case involves a motor vehicle collision that occurred in the
Middle District.

3. Plaintiffs Chelsea and Thomas Harris reside in McClure, Mifflin County,
Pennsylvania.

4, Defendant RoadSafe Traffic, L.P. (hereinafter, “RoadSafe”) is a corporation
regularly doing business in the Middle District of Pennsylvania with its principal
place of business located at 8750 West Bryn Mawr Avenue, Chicago, Illinois 60631.

5. At all times material hereto, Plaintiff Chelsea Harris was operating a 2017
Dodge while in the scope of employment with the Geisinger Medical Center.

6. At all times material hereto, Dustan Swanger was a professional
commercial truck driver.

7. As a professional truck driver operating in Pennsylvania, Dustan Swanger
knew or should have known that he had to operate a tractor trailer safely on the
interstate highway.

8. At all times material hereto, Dustan Swanger was required to follow and
obey the laws of the Commonwealth of Pennsylvania , including the State Motor

Carrier safety regulations.
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9. At all times material hereto, Dustan Swanger was operating a 2018 Ram-
450 truck puling a utility trailer while in the scope of employment with Defendant
RoadSafe.

10. = At all times material hereto, Dustan Swanger was an employee, agent
and/or servant of Defendant RoadSafe and performing the acts alleged in this
Complaint, was acting within the course and scope of employment, agency,
direction and commission of Defendant RoadSafe.

11. On December 5, 2019, Plaintiff Chelsea Harris was operating her 2017
Dodge traveling east on Interstate 80, Hemlock Township, Columbia County,
Pennsylvania .

12: At the same time, Dustan Swanger was operating a 2015 Ram-450 pulling
a utility trailer, also traveling east on Interstate 80.

13. As Plaintiff Chelsea Harris slowed her vehicle on Interstate 80, Dustan
Swanger caused the front of his truck, to collide into the rear of Plaintiff Chelsea
Harris’s vehicle.

14. ‘The force of the rear-end collision to Plaintiff Chelsea Harris’s vehicle

caused her vehicle to be pushed forward into another vehicle.
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15. Asadirect and proximate result of Dustan Swanger’s negligence, while in
the scope of employment with Defendant RoadSafe, Plaintiff Chelsea Harris
sustained harm.

16. ‘The occurrence of the aforesaid collision and all the resultant damages to
Plaintiffs Chelsea and Thomas Harris are the direct and proximate result of the
negligence of Dustan Swanger, while in the scope of employment with Defendant

RoadSafe, as follows:

a. In failing to brake before colliding into Plaintiff Chelsea Harris’
vehicle;

b, In violating the Assured Clear Distance Ahead Rule;

C In failing to regulate his speed so as to prevent a rear-end
collision;

d. In failing to stop his truck before colliding into the rear of another
vehicle.

Chelsea Harris v. RoadSafe Traffic, L.P.
17. Asadirect and proximate result of Dustan Swanger’s negligence while in
the scope of employment with Defendant RoadSafe, Plaintiff Chelsea Harris has
suffered personal injuries including, but not limited to, multiple traumas, including

but not limited to multiple rib fractures, right pneumothorax, thoracic spine trauma
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necessitating T7-T11 posterior posterolateral spinal fusion at T-9; thoracic aorta
injury, head trauma and weakness of lower extremities.

18. = Asadirect and proximate result of Dustan Swanger’s negligence while in
the scope of employment with Defendant RoadSafe, Plaintiff Chelsea Harris has
suffered lost wages and diminution of her earning power and capacity and claim is
made therefor.

19. Asadirect and proximate result of Dustan Swanger’s negligence while in
the scope of employment with Defendant RoadSafe, Plaintiff Chelsea Harris has
undergone medical care for her injuries and will continue to undergo care in the
future and claim is made therefor.

20. Asadirect and proximate result of Dustan Swanger’s negligence while in
the scope of employment with Defendant RoadSafe, Plaintiff Chelsea Harris has been
compelled, in order to effectuate a cure for her injuries, to spend and incur costs for
future medical care and claim is made therefor.

21. Asadirect and proximate result of Dustan Swanger’s negligence while in
the scope of employment with Defendant RoadSafe, Plaintiff Chelsea Harris has
suffered physical pain, discomfort, mental anguish, disfigurement and will continue

to do so in the future and claim is made therefor.
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22. Asa direct and proximate result of Dustan Swanger’s negligence while in
the scope of employment with Defendant RoadSafe, plaintiff Chelsea Harris has
suffered a loss of life’s pleasures and enjoyment and has experienced an impact on
attending to her daily activities of living and claim is made therefor.

23. At all times material hereto, Dustan Swanger was an employee, agent
and servant of Defendant RoadSafe and in performing the negligent conduct alleged
above, was acting within the course and scope of employment, agency, direction and
commission of Defendant RoadSafe Traffic, L.P., and under the doctrine of
Respondeat Superior, Defendant RoadSafe Traffic, L.P. is liable for the negligent
actions of Dustan Swanger.

WHEREFORE, Plaintiff Chelsea Harris demands damages from Defendant

RoadSafe Traffic, L.P. in an amount in excess of $75,000.00, exclusive of interest and

 

costs.
Thomas Harris v. RoadSafe Traffic, L.P.
24. All of the foregoing paragraphs are incorporated herein by reference.
25. At the time of the subject motor vehicle collision, Plaintiff Chelsea Harris

and Plaintiff Thomas Harris were lawfully married as husband and wife.
26. As a direct and proximate result of Dustan Swanger’s negligence while in

the scope of employment with Defendant RoadSafe, Plaintiff Thomas Harris has
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suffered a loss of consortium, society and comfort from this wife, Plaintiff Chelsea
Harris, and he will continue to suffer a similar loss in the future and claim is made
therefor.

27. WHEREFORE, Plaintiff Thomas Harris demands damages from the
Defendant RoadSafe Traffic, L.P. in the amount in excess of $75,000.00, exclusive of

interest and costs.

Respectfully submitted,

HANDLER, HENNING & ROSENBERG, LLC

Date: fo H- 2 x
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VERIFICATION

The undersigned hereby verifies that the statements in the foregoing document
are based upon information which has been furnished to counsel by me and information
which has been gathered by counsel in the preparation of this lawsuit. The language of
the document is of counsel and not my own. | have read the document and to the
extent that it is based upon information which | have given to counsel, it is true and
correct to the best of my knowledge, information and belief. To the extent that the
contents of the document are that of counsel, | have relied upon my counsel in making
this Verification. The undersigned also understands that the statements made therein

are made subject to the penalties of 18 Pa. C.S. Section 4904, relating to unsworn

[flax NM Hauee>

Chelsea Harris

pre lt 44 WV

Thomas Harris

falsification to authorities.

Date: (5° / 1
